Case 1:21-mc-20544-RNS Document 1 Entered on FLSD Docket 02/09/2021 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO. __________



  In re Application of

  LINDA FISCHER

                         Applicant,

  To Issue a Subpoena for the Taking of a
  Deposition and The Production of Documents.




   EX PARTE APPLICATION FOR JUDICIAL ASSISTANCE TO OBTAIN EVIDENCE
        FOR USE IN A FOREIGN PROCEEDING PURSUANT TO 28 U.S.C. § 1782

         Based upon the concurrently filed Memorandum of Law, Declarations of Reed Brodsky,

  Linda Fischer, and Martin Kenney, and supporting documents, Linda Fischer respectfully applies

  to this Court for an ex parte Order, pursuant to 28 U.S.C. § 1782 and Federal Rules of Civil

  Procedure 26, 30, and 45, granting her leave to serve the Estate of Michael D. Fischer, Svetlana

  Astafurova, XL Funding, Inc., and Blackstone Equities, LLC with subpoenas in substantially the

  same form as those attached as Exhibits 1–7 to the Declaration of Reed Brodsky for the production

  of documents and deposition testimony for use in a British Virgin Islands proceeding.

         As set forth in the accompanying memorandum of law, Ms. Fischer’s application meets

  the four statutory requirements of Section 1782. Ms. Fischer as a prospective plaintiff seeks

  documents and testimony from individuals or entities that “reside[]” or are “found in” this judicial

  district for use in impending BVI litigation. Intel Corp. v. Advanced Micro Devices, Inc., 542 U.S.

  241 (2004). Similarly, each of the four factors that the Supreme Court established to guide this

  Court’s discretion in permitting discovery pursuant to Section 1782 also weigh in favor of
Case 1:21-mc-20544-RNS Document 1 Entered on FLSD Docket 02/09/2021 Page 2 of 2




  awarding discovery. First, the respondents are not parties to the BVI lawsuit. Second, courts in

  the BVI are receptive to information obtained through Section 1782. Third, the discovery here

  does not seek to circumvent any proof-gathering restrictions in the BVI. Fourth, the discovery

  requested is not unduly burdensome, does not seek privileged information, and is limited to

  specific topics relevant to Linda’s claims for relief in the BVI.

         Ms. Fischer therefore respectfully requests that this Court enter an Order granting Ms.

  Fischer’s ex parte application.

  Dated: February 9, 2021                       Respectfully submitted,

                                                /s/       Reed Brodsky

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